     Case 2:95-cr-00129-LSC-GMB Document 1667 Filed 05/14/08 Page 1 of 7                FILED
                                                                               2008 May-14 AM 10:25
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA



              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


UNITED STATES OF AMERICA )

v.                                     )     2:95-CR-0129-JHH-TMP

ANTONIO LARICE KING                    )



     MEMORANDUM OF OPINION REGARDING ORDER GRANTING
         MOTION FOR REDUCTION OF SENTENCE

        The movant, acting pro se, filed the above-styled motion, on March 24,

2008, asking that this court reduce his sentence pursuant to 18 U.S.C. § 3582

effective November 1, 2007 and made retroactive by USSG §1B1.10,

effective March 3, 2008. The court finds by separate order that the motion

for reduction of sentence should be GRANTED.

        In May 2007, the U. S. Sentencing Commission (U.S.S.C.) submitted a

group of proposed amendments to the Sentencing Guidelines as they have

done annually since 1987. One of these amendments, number 706,

represented the U.S.S.C.’s attempt to mitigate the sentencing disparity for

defendants convicted of crack cocaine offenses as opposed to powder cocaine

offenses. In the absence of congressional action to amend the 100:1 ratio

found in the Title 21 statutes, the U.S.S.C. proposed a method to reduce the

                                       1
     Case 2:95-cr-00129-LSC-GMB Document 1667 Filed 05/14/08 Page 2 of 7




potential sentences by lowering the applicable guidelines for quantities of

crack by two levels, thereby creating a ratio ranging from about 25:1 to about

80:1 within the Guidelines framework.

          All of the proposed amendments, including the crack amendment,

became effective on November 1, 2007.1 Then in December 2007, following

a period of public discussion, the U.S.S.C. decided to make the crack

amendment retroactive. The effective date for retroactive application of the

crack amendment became March 3, 2008. The U.S.S.C. also amended

Guideline § 1B1.10 to include the crack amendment (hereinafter referred to

as “the amended policy statement”). As such, as of March 3, 2008, the crack

amendment and amended policy statement apply to all relevant sentences, old

and new. All of this was done pursuant to the U.S.S.C.’s authority found at 28

U.S.C. § 994(u) and 18 U.S.C. § 3582(c).

          With that background, the court now turns to the current motion (Doc.

#1660) of Antonio Larice King to modify his term of imprisonment under 18

U.S.C. § 3582(c)(2). The motion seeks the benefit of the crack amendment



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     At this point, the crack amendment had no retroactive application.

                                                           2
  Case 2:95-cr-00129-LSC-GMB Document 1667 Filed 05/14/08 Page 3 of 7



and the amended policy statement. The focus of the § 3582(c)(2) motion is

the 235-months sentence imposed upon movant under Count 2 which charges

24 persons with a long-running conspiracy under 21 U.S.C. § 846 to violate

21 U.S.C. § 841. The conspiracy was largely a “family business” utilizing a

number of persons outside the family to help market the cocaine base.

Movant King was a relatively minor participant in a very serious and

dangerous enterprise (numerous defendants received lifetime sentences),

charged only in Count 2 (the General conspiracy count) of the 133 count

indictment. King pled guilty to the Count 2 conspiracy charge, and he was

sentenced on May 30, 1996. At the time the movant was sentenced, he, along

with most of the other defendants under Count 2, was attributed with

conspiracy to possess with intent to distribute in excess of 1.5KG of cocaine

base (crack). The 1995 guidelines manual set the base offense level for this

amount of crack cocaine at level 38.

      The following chart sets forth the application of the crack amendment

to the instant case:




                                       3
  Case 2:95-cr-00129-LSC-GMB Document 1667 Filed 05/14/08 Page 4 of 7




                                Original Sentence             Retroactive
                                                               Sentence
                                                              Adjustment
    Total Offense                       36                         34
       Level
  Criminal History                      III                        III
     Category
   Imprisonment                 235 - 293 months            188-235 months
      Range
     Departure                          n/a                        n/a
 Sentence Imposed                  235 months                 188 months

       Rule                             n/a                        n/a
   35(b)/Remand
     Designated
     Institution

    Institutional
    Adjustment
     Projected                      8/11/2012               September 2008
    Release Date


      A review of the sentencing issues now confronting this court includes,

but is not limited to, the following:

      1.     the movant was originally sentenced to the bottom of the

      correctly-computed guidelines range 235 months;

      2.     as computed in accordance with the amended guideline, the

      bottom of the range is 188 months;

      3.     deferring to the Bureau of Prisons Designation and Computation

      Center, this court believes that by granting the movant’s motion for a


                                        4
  Case 2:95-cr-00129-LSC-GMB Document 1667 Filed 05/14/08 Page 5 of 7




      reduction in his sentence, the movant’s projected release date could be

      as early as September, 2008, thereby creating urgency in this court’s

      actions as well as those of the BOP; and

      4.      While movant’s Sentry report indicates several relatively minor

      infractions during the past 10 years, they, together with movant’s

      criminal history as reflected in the presentence report, do not indicate

      that there are public safety issues raised by his release at an earlier

      date.

      Pursuant to U.S.S.G § 1B1.10 (b), this court finds that the movant is

eligible for consideration for a reduction in sentence pursuant to 18 U.S.C. §

3582(c)(2) and concludes that the crack amendment applies to the

circumstances of the movant. Furthermore, this court concludes that the

movant would have been sentenced at the low end of the offense level had the

crack amendment been in effect at that time.

      Therefore, in light of these considerations and after considering the

factors set forth in 18 U.S.C. § 3553(a), this court hereby finds that the

sentence in count two should be reduced to a term of 188 months. In so

doing, the court finds that the movant has not overserved the original

sentence, and, thereby, specifically retains all options for re-sentencing the

movant in the future event that he appears before this court pursuant to a

petition for revocation of supervised release. The 60-months supervised

                                        5
  Case 2:95-cr-00129-LSC-GMB Document 1667 Filed 05/14/08 Page 6 of 7




release term imposed at sentencing begins immediately upon movant’s

release from custody.

      In the event that movant’s protracted release is materially sooner than

September 2008, the court further finds that the movant’s release from

custody should be stayed for a period of ten (10) days from the date of the

order so that the Bureau of Prisons can satisfy its statutory and regulatory

requirements.

      A separate order will be entered. Movant’s attention is directed to the

“Notice Concerning Appeals” set out below.


                   NOTICE CONCERNING APPEALS

      A § 3582(c) motion is considered a continuation of the criminal

proceeding. A notice of appeal must be filed within ten days from the entry

of the judgment or order being appealed. See United States v. Fair, 326 F.3d

1317, 1318 (11th Cir. 2003); United States v. Starks, 2008 WL 351386 (11th

Cir. 2008); Fed.R.App.P. 4(b)(1)(A)(i). If the movant was represented by

appointed counsel in the Northern District of Alabama at trial or on appeal,

movant will not be required to file a new application to proceed in forma

pauperis on appeal from the denial of the § 3582(c)(2) motion. That status

will be granted for appeal purposes. If movant was represented by counsel at

trial or on direct appeal but believes he is now unable to afford counsel,


                                       6
  Case 2:95-cr-00129-LSC-GMB Document 1667 Filed 05/14/08 Page 7 of 7




movant should file an application to proceed in forma pauperis (accompanied

by a certified copy of prison account statements for the last six months) when

a notice of appeal from the denial of the § 3582(c)(2) motion is filed. The

Clerk is DIRECTED to provide the movant with an application to proceed in

forma pauperis.

      DONE this the     14th       day of May, 2008.




                         SENIOR UNITED STATES DISTRICT JUDGE




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